                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JOANNE MARIE ROMAN, Pro Se Litigant,            )
CARMELO ROMAN TORRES, spouse,                   )
JMR, dependent daughter, JG, dependent son,     )
                                                )
                             Plaintiffs,        )
                                                )
              v.                                )   No. 2:23-cv-0308-WSH
                                                )
M&T BANK, KML LAW GROUP, P.C.,                  )
J. ERIC KISHBAUGH, Esquire, Attorney for        )
M&T BANK,                                       )
                                                )
                             Defendants.        )

                                           ORDER

       AND NOW, this 12th day of June, 2023, the Court having received and reviewed Plaintiffs’

“Correspondence to the Court” (Docket No. 7), and it being unclear to the Court if Plaintiffs

intended to file a new lawsuit or remove an action from the Butler County Court of Common Pleas,

it is hereby ORDERED as follows:

   1. If Plaintiffs intended to file a new complaint as this case is filed, then they shall make

       service of the filed complaint pursuant to Rule 4 of the Federal Rules of Civil Procedure

       (Fed. R. Civ. P. 4) which sets forth the procedure for service of process, including rules

       regarding service of a summons and a copy of a complaint upon a defendant.

   2. If Plaintiffs intended to remove an action from the Butler County Court of Common Pleas,

       they will need to file a proper Notice of Removal pursuant to 28 U.S.C. § 1446.


                                                    /s/ W. Scott Hardy
                                                    W. Scott Hardy
                                                    United States District Judge

cc/ecf: All Counsel of Record
